

Rowbotham v Wachenfeld (2021 NY Slip Op 03125)





Rowbotham v Wachenfeld


2021 NY Slip Op 03125


Decided on May 13, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 13, 2021

Before: Renwick, J.P., Manzanet-Daniels, Kennedy, Shulman, JJ. 


Index No. 152281/18 Appeal No. 13841 Case No. 2020-04992 

[*1]Jim Rowbotham, Plaintiff-Appellant,
vJeff Wachenfeld, Defendant-Respondent, Nuts &amp; Boltz Works, Inc., Doing Business as Westhampton True Value Hardware, Defendant.


Law Offices of Steven Beispel, New York (Steven Beispel of counsel), for appellant.
Lewis John Avallone Aviles LLP, New York (Kevin D. Clinton of counsel), for respondent.



Order, Supreme Court, New York County (David Benjamin Cohen, J.), entered on or about June 29, 2020, which, to the extent appealed from as limited by the briefs, granted defendant Nuts &amp; Boltz Works, Inc. d/b/a Westhampton True Value Hardware's motion for summary judgment dismissing the complaint as against it and, upon a search of the record, dismissed the complaint as against defendant Wachenfeld, unanimously affirmed, without costs.
The Facebook post, "Jim is a crook. Worst Company to do business with," is an expression of opinion and therefore not actionable (see e.g. Schwartz v Nordstrom, Inc., 160 AD2d 240, 241 [1st Dept 1990], lv denied 76 NY2d 711 [1990]; Cardali v Slater, 167 AD3d 476 [1st Dept 2018], lv denied 33 NY3d 901 [2019]; Galasso v Saltzman, 42 AD3d 310, 311 [1st Dept 2007]). Nothing in the post implies that there exist undisclosed facts that would support the opinion (see e.g. Giffuni v Feingold, 299 AD2d 265 [1st Dept 2002]; Guerrero v Carva, 10 AD3d 105, 112-113 [1st Dept 2004]).
We have considered plaintiff's remaining contentions and find them unavailing. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 13, 2021








